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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                 SOUTHERN DIVISION

                  Lawrence L. Piersol United States District Judge Presiding

 Courtroom Deputy - SLW                              Court Reporter – Jill Connelly
 Courtroom - SF #1                                   Date – November 18, 2019
 U.S. Probation Officer – Natalie Kaufman

                                       4:18-CR-40086-01

 United States of America                                     Jeremy Jehangiri

                   Plaintiff,

                      vs.

 Kristin DeBoer                                                 TJ Von Wald


                  Defendant.


 TIME HEARING SCHEDULED TO BEGIN: 4:00 p.m.

 TIME:
5:14 p.m.     Enter Contested Sentencing Hearing

              Defendant sentenced to 2 years probation; $100 special assessment.

5:33 p.m.     Court in recess.
